                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

DOES                                                                                 PLAINTIFF

v.                               CASE NO. 4:22-CV-00167 BSM

BENTON SCHOOL DISTRICT                                                             DEFENDANT

                                   INITIAL SCHEDULING ORDER

An appearance entered by defendant(s) in this case on April 27, 2022.

IT IS HEREBY ORDERED that the following deadlines and proposals are in effect:

        1.   RULE 26(f) CONFERENCE DEADLINE:                    July 5, 2022

The parties are jointly responsible for holding their Rule 26(f) conference on or before the date specified.

        2.   RULE 26(f) REPORT DUE DATE:                        July 18, 2022

Consult FRCP 26(f) and Local Rule 26.1 for information to be included in the Rule 26(f) Report. The
Report should be filed with the Clerk of the Court.

        3.   PROPOSED TRIAL DATE:                               October 30, 2023

The case will be scheduled for JURY TRIAL before Judge Brian S. Miller commencing at 9:30 a.m.
sometime during the week as set forth above in Courtroom #2D, Richard Sheppard Arnold United States
Courthouse, 500 West Capitol, Little Rock, Arkansas 72201. Counsel are directed to state in the Rule
26(f) Report whether they agree to a six (6) member jury. If the parties do not agree, the case will be tried
to a twelve (12) member jury.

        4. RULE 16(b) CONFERENCE:                               Will be scheduled, if necessary.

A telephone conference will be scheduled within one week of the filing of the Rule 26(f) Report, if
necessary as determined by the Court, to resolve any conflicts among the parties with the proposed trial
date and deadlines, mandatory disclosures, etc. If the parties can agree on all issues in the Rule 26(f)
Report and the trial date proposed by the Court, then the telephone conference will be unnecessary.

DATED: April 28, 2022

                                                      AT THE DIRECTION OF THE COURT
                                                      TAMMY H. DOWNS, CLERK

                                                              By: Laura Bichlmeier
                                                                  Courtroom Deputy
                                                                  501-604-5404
                             IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

DOES                                                                                           PLAINTIFF

v.                               CASE NO. 4:22-CV-00167 BSM

BENTON SCHOOL DISTRICT                                                                       DEFENDANT

                             PROPOSED FINAL SCHEDULING ORDER

       Pursuant to Rule 16(e) of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED:

1.     TRIAL DATE

This case is scheduled for a JURY TRIAL before Judge Brian S. Miller commencing at 9:30 a.m.
sometime during the week of October 30, 2023, in Courtroom #2D, Richard Sheppard Arnold United
States Courthouse, 500 West Capitol, Little Rock, Arkansas 72201. The case will be tried to a twelve
member (12) jury, unless the parties stipulate to a jury of six (6) members. Counsel are directed to file by
October 25, 2023, a statement indicating whether they agree to a six (6) member jury. If counsel wish to
bring electronic devices to the courthouse for any proceeding, please note General Order No. 54.

2.     DISCOVERY

Discovery should be completed no later than June 7, 2023. The parties may conduct discovery beyond
this date if all parties are in agreement to do so; but the Court will not resolve any disputes in the course
of this extended discovery. All discovery requests and motions must be filed sufficiently in advance of
that date to allow for a timely response. Witnesses and exhibits not identified in response to appropriate
discovery may not be used at trial except in extraordinary circumstances. The Court will not grant a
continuance because a party does not have time in which to depose a witness, expert or otherwise.

A discovery motion must not be filed until counsel has made a good faith effort to resolve the discovery
dispute. Upon the filing of such motion, a response should be filed promptly. A conference call will be
scheduled to resolve such matters if the Court deems it necessary.

3.     ADDITION OF PARTIES/AMENDMENT OF PLEADINGS

Leave to add parties or amend pleadings must be sought no later than May 8, 2023.

4.     STATUS REPORT

A status report must be filed with the Clerk’s office on or before July 3, 2023. The report must include
the date and results of any settlement conference, the settlement prospects, and an estimate of the length
of trial.

5.     MOTION DEADLINE

All motions, except motions in limine, must be filed on or before July 3, 2023. Motions for summary
judgment must comply with Fed. R. Civ. P. 56 and Local Rules 7.2 and 56.1. In addition, parties are
directed to submit a courtesy copy of the motion for summary judgment, responses, replies, and supporting
briefs and exhibits to chamber. Motions in limine must be filed on or before October 20, 2023, and
responses must be filed five (5) calendar days thereafter. Motions submitted after the deadline may be
denied solely on that ground.

Local Rule 7.2(b) provides: “Within fourteen (14) days from the date copies of a motion and supporting
papers have been served upon him, any party opposing a motion shall serve and file with the Clerk a
concise statement in opposition to the motion with supporting authorities. A party moving for summary
judgment will have seven (7) days to file a reply in further support of the motion.” The Court may or may
not wait on the filing of a reply before ruling on the motion. No surresponse or surreply will be permitted.

6.     FORMAT OF SUMMARY JUDGMENT STATEMENT OF FACTS

In opposing a motion for summary judgment, the non-moving party shall format his or her statement of
disputed (and undisputed) material facts pursuant to Local Rule 56.1. The non-moving/opposing party
shall respond paragraph by paragraph to the statement of undisputed material facts submitted by the
moving party. The responsive portion of the non-moving opposing party's statement shall repeat the
statement verbatim as set forth in the moving party's statement and respond to it by admitting the statement
or pointing out that portion of the statement, if any, he or she disputes. The non-moving/opposing party
will state with particularity that portion of the allegation denied, citing to any evidentiary support for the
denial. For example:

Moving Party:         1. Plaintiff began working for Defendant Employer on March 1, 2016.
Response:     1. Plaintiff admits that Plaintiff began working for Defendant Employer on March 1, 2016.

7.     PRETRIAL DISCLOSURE SHEET [FED.R.CIV.P. 26(a)(3)]

Pretrial disclosure sheets must be filed simultaneously by the parties according to the outline contained in
Local Rule 26.2 with copies to the Courtroom Deputy, Laura Bichlmeier, and opposing counsel no later
than September 29, 2023. The Court's requirement that witnesses and exhibits must be listed on the
pretrial information sheet does not relieve a party of the obligation to provide the names of witnesses and
exhibits in response to discovery requests.

8.     DEPOSITIONS TO BE USED AT TRIAL OTHER THAN FOR IMPEACHMENT

The proffering party must designate the pertinent portions of a deposition to be used as evidence at trial
by September 29, 2023. Counter-designations must be made by October 9, 2023. Objections to any
deposition or videotapes that will be used at trial must be made by written motion indicating the specific
objection and its legal basis by October 12, 2023, with the response due October 16, 2023. Depositions
to be read at trial must be marked as exhibits.

9.     JURY INSTRUCTIONS AND STATEMENT OF CASE

The parties must confer regarding the proposed instructions in an attempt to narrow areas of disagreement
and must submit an AGREED set of instructions on specific issues in the case to the Court on or before
October 20, 2023. Standard instructions from AMI, Eighth Circuit or Federal Jury Practice and
Instructions (Latest Edition), as applicable, should be used whenever possible and should be noted at the
end of each instruction. A party requesting an instruction that cannot be agreed upon must submit that
instruction to the Court and to opposing counsel, setting out the disagreement by the same date.
Instructions must be submitted in WordPerfect or Word format electronically to
bsmchambers@ared.uscourts.gov.
Each party must submit to the Court by that same date a concise statement of the case, no more than one
page in length, that it proposes would be proper to read to the panel of venire persons during voir dire,
and also any proposed voir dire questions it wishes the Court to pose to the panel.

10.    STIPULATIONS

The parties should stipulate in writing to the facts not in controversy on or before October 25, 2023.

11.    INTRODUCTION OF EXHIBITS

All exhibits must be listed on the enclosed form in numerical sequence. Exhibits must be made available
to all parties and reviewed by counsel prior to the trial date. The lists must be submitted to the Courtroom
Deputy 30 minutes prior to trial, with notations made on the Court’s copy noting exhibits to which there
is an objection. The Court will receive all stipulated exhibits at the beginning of the trial.

12.    CONFLICTS OF INTEREST

Counsel must promptly check the Court’s list of financial interests on file in the U.S. District Clerk’s
Office to determine whether there is any conflict that might require recusal. If any party is a subsidiary
or affiliate of any company in which the Court has a financial interest, bring that fact to the Court’s
attention immediately.

Please communicate with Laura Bichlmeier, Courtroom Deputy, at 501-604-5404, or
laura_bichlmeier@ared.uscourts.gov, to ascertain your position on the calendar as the trial date
approaches. In the event of settlement, advise Ms. Bichlmeier immediately. The case will not be removed
from the trial docket until an order of dismissal has been entered.

Dated April 28, 2022

                                                     AT THE DIRECTION OF THE COURT
                                                     TAMMY H. DOWNS, CLERK

                                                     By:      Laura Bichlmeier
                                                              Courtroom Deputy
